












	





IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. WR-43,604-07






IN RE TYRONE HARRIS, Relator







ON APPLICATION FOR A WRIT OF MANDAMUS


CAUSE NO. W12-58608-N(A) IN THE 195TH DISTRICT COURT
	

FROM DALLAS COUNTY






	Per curiam.


O R D E R



	Relator has filed a motion for leave to file an application for a writ of mandamus pursuant
to the original jurisdiction of this Court.  In it, he contends that he filed an application for a writ of
habeas corpus in the 195th District Court of Dallas County, that more than 35 days have elapsed, and
that the application has not yet been forwarded to this Court. The district court entered an order
designating issues on June 10, 2013.

	Respondent, the Judge of the 195th District Court of Dallas County, shall file a response with
this Court by having the District Clerk submit the record on such habeas corpus application. See
Tex. R. App. P. 73.4(b)(5). In the alternative, Respondent may resolve the issues set out in the order
designating issues and then have the District Clerk submit the record on such application.  In either
case, Respondent's answer shall be submitted within 30 days of the date of this order. This
application for leave to file a writ of mandamus will be held in abeyance until Respondent has
submitted his response.


Filed: February 26, 2014

Do not publish	


